EXHIBIT 2
                           Lisa M. Rocchio, Ph.D.




EDUCATION

1995              Ph.D. Clinical Psychology
                  University of Rhode Island, Kingston, RI

1992              MA Clinical Psychology
                  University of Rhode Island, Kingston, RI

1989              BA Psychology and English
                  Emory University, Atlanta, Georgia

1988              Visiting Student
                  Westfield College, London, England

ACADEMIC APPOINTMENT

2020 - present    Clinical Instructor
                  Department of Psychiatry and Human Behavior
                  Alpert Medical School of Brown University
                  Providence, RI


LICENSURE

11/14 – present   Licensed Psychologist (MA) #10025
02/12 - present   Licensed Psychologist (NY) #019490
12/97 - present   Licensed Psychologist (RI) #00631


CLINICAL EXPERIENCE

7/98 - present    Clinical Director and Owner, Inter-Disciplinary Independent Group Practice
                  Lisa M. Rocchio, Ph.D. & Associates, Inc. Johnston, RI
                  Psychotherapy, Assessment, Consultation, Education and Training,
                  Forensic Assessment, Forensic Consultation, Expert Testimony

12/97 - 6/98      Independent Practice
                  Associates in Psychotherapy, North Kingstown, RI
                  Psychotherapy, Assessment, Education and Training

7/96 - 11/97      Post-Doctoral Fellow in Psychology
                  Ann Begin, Ph.D., Associates in Psychotherapy, North Kingstown, RI
                  Women’s Day Hospital Program, Butler Hospital, Providence, RI




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7/94 - 7/95      Pre-Doctoral Intern in Psychology
                 Yale University School of Medicine, New Haven, CT
                 New Haven Hospital and Yale Psychiatric Institute

9/93 - 5/94      Clinical Psychology Extern
                 Counseling Center, University of Rhode Island, Kingston, RI

5/91 - 5/94      Clinical Psychology Trainee
                 Psychological Consultation Center, University of Rhode Island, Kingston, RI

9/92 - 5/93      Clinical Psychology Extern
                 Psychological Services, Brown University, Providence, RI

6/90 - 8/90      Family Service Student Counselor
7/91 - 8/91      Pre-Natal Clinic, St. Joseph's Hospital
                 Department of Family Service, Providence, RI


TRAINING AND CONSULTATION EXPERIENCE

2000 - 2002      Psychological Consultant
                 North Providence School Department
                 Performed comprehensive psychological evaluations of elementary school students
                 to determine the impact of psychological difficulties on school performance and
                 functioning. Evaluations involved clinical diagnostic interviews, psychological
                 testing, classroom observations and collateral interviews.

2000 - 2001      Psychological Consultant
                 Diagnostic Assessment Services, Middletown, RI
                 Performed comprehensive psychological evaluations of adolescents who had been
                 court ordered for outpatient psychological, cognitive and educational testing.

1999 - 2002      Consultant: Professional Development, Education and Training
                 Department of Children, Youth, and Families, Providence, RI
                 Developed and presented workshops to DCYF employees in the areas of trauma,
                 vicarious traumatization, and stress management.

1994             Mock Trial Expert Witness
                 Yale University School of Medicine, New Haven, CT

1992 - 1994      Workshop Leader
                 College Counseling Center, University of Rhode Island, Kingston, RI
                 Eating Disorders Workshops presented across campus to various student groups
                 and organizations

1992             Mock Trial Expert Witness
                 Travelers Worker’s Compensation Trial Advocacy Program, Hartford, CT


RESEARCH EXPERIENCE

1999 - 2003      Research Group Member
                 Trauma Science Research Group, Providence, RI

6/93 - 9/93      Research Assistant




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                                                     Lisa Marie Rocchio, Ph.D. 3
                 Outpatient Eating Disorders Research Group, Butler Hospital, Providence, RI

10/89 - 8/91     Research Project Coordinator
                 The Social Behavior of Developmentally Disabled Children, Bradley Hospital,
                 East Providence, RI


TEACHING EXPERIENCE

9/96 - 12/96     Adjunct Assistant Professor
                 University of Rhode Island, College of Continuing Education, Providence, RI
                 Introduction to Women’s Studies (2 sections)

1/96 - 5/96      Special Instructor in Psychology
                 Providence College, Providence, RI
                 Psychology of Women (2 sections)

9/92 - 5/94      Instructor
                 Counseling Center, University of Rhode Island, Kingston, RI
                 Workshop Training for Eating Disorders Prevention

5/92 and 5/93    Teaching Assistant
                 University of Rhode Island, Continuing College of Education, Providence, RI
                 Psychology of Sexual Equality

9/91 - 5/92      Teaching Assistant
                 University of Rhode Island, Kingston, RI
                 Towards Self Understanding


SELECTED SPECIALIZED PROFESSIONAL TRAINING

2011 – 2012      Leadership Institute for Women in Psychology
                 Sponsored by the American Psychological Association, Committee on Women in
                 Psychology
                 Selected (through a competitive selection process) to participate in a leadership
                 training program for women in psychology, the mission of which
                 “is to prepare, support, and empower women psychologists as leaders to promote
                 positive changes in institutional and organizational life and increase the diversity,
                 number, and effectiveness of women psychologists as leaders”.

2011             Continuing Education in Forensic Psychology (14 hours)
                 American Academy of Forensic Psychology (AAFP)
                 Comprehensive Assessment of Feigning in Forensic Settings
                 Forensic & Correctional Applications of the Personality Assessment Inventory

2006             Continuing Education in Forensic Psychology (28 hours)
                 American Academy of Forensic Psychology (AAFP)
                 Stalking: The State of the Science
                 Assessment of Response Style in Forensic Contexts
                 Excusing and the New Excuses
                 Psychological Evaluation and Testimony in Cases of Clergy or Teacher Sexual
                 Abuse

2005 - 2006      Psychotherapy Training Course for Dissociative Disorders (22.5 hours)




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                                                                 Lisa Marie Rocchio, Ph.D. 4
                           International Society for the Study and Treatment of Trauma and Dissociation
                           (ISSTD)

2004                       Continuing Education in Forensic Psychology (21 hours)
                           American Academy of Forensic Psychology (AAFP)
                           Advanced Topics in Criminal Forensic Assessment
                           Forensic Consultation, Expertise & Testimony
                           Forensic Mental Health Assessment: Principles and Cases

2001                       Eye Movement Desensitization and Reprocessing, Levels I & II (34 hours)
                           Eye Movement Desensitization and Reprocessing International Association
                           (EMDRIA)

1999 - 2000                Dialectical Behavior Therapy, Intensive Training, Parts I & II (72 hours)
                           Behavioral Technology Transfer Group


PUBLICATIONS

Bailey, T.D. & Rocchio, L.M. (2020). Evaluating the effects of repeated psychological injury: Introduction to the
   Special Issue. Psychological Injury and the Law. NY: Springer

Rocchio, L.M. (2020). Ethical and professional considerations in the forensic assessment of complex trauma and
   dissociation. Psychological Injury and the Law. NY: Springer

Rocchio, L.M. (Fall, 2015). Ethics corner: Psychologists Coping with Serious Health Concerns: Ethical,
   Professional, and Risk Management Issues. The Newsletter of the Rhode Island Psychological Association.

Rocchio, L.M. (Spring 2011). Ethics corner: Ethical Considerations in Trauma Psychology: Vicarious
   Traumatization and Self-Care. The Newsletter of the Rhode Island Psychological Association.

Rocchio, L.M. (Spring 2009). Ethics corner: How should I respond to a subpoena? The Newsletter of the
   Rhode Island Psychological Association.

Lott, B. & Rocchio, L. M. (1998). Standing up, talking back, and taking charge: Strategies and outcome in
     collective action against sexual harassment. In L.H. Collins, J. Chryslers, and K. Quina (Eds.) Career
     strategies for women academics: Arming Athena. NY: Sage.

Lott, B. & Rocchio, L. M. (1997). Individual and collective action: Social approaches and remedies for
     sexist discrimination. In H. Landrine and E. A. Klonoff (Eds.) Sexist discrimination: Prevalence,
     correlates, and remedies. CA: Sage.

Rocchio, L. M., Feinstein, C., & Appareddy, V. (1997). The sibling of the psychiatrically disturbed child. In
   J. Nashpitz (Ed), Handbook of Child and Adolescent Psychiatry.

Baker's Dozen (1997). Feminist student voices. In J. Worell and N. Johnson (Eds.) Feminist visions: New
   directions for education and practice. American Psychological Association.



PROFESSIONAL PRESENTATIONS

Rocchio, L.M. (August, 2020). Ethical and professional considerations in the forensic assessment of trauma and
    PTSD. In J. Scroppo (Chair), Ethics and Risk Management in Forensic Evaluations and Settings. Symposium
    conducted virtually at the National Meeting of the American Psychological Association, Washington, DC.




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Rocchio, L.M. (August, 2020). Ethical challenges when a client is engaged in a lawsuit: Dr. Helpful wants to help.
   In APA Ethics Committee, Ethics Hot Topics. Panel presentation conducted virtually at the National Meeting of
   the American Psychological Association, Washington, DC.

Rocchio, L.M. (August, 2015). Ethical dilemmas in the treatment of trauma in independent practice settings. In
   Rocchio (Chair), Trauma treatment in independent practice settings: Ethical and relational issues. Skill
   Building session conducted at the National Meeting of the American Psychological Association,
   Washington, DC

Rocchio, L.M. (August, 2014). Trauma psychologists with serious health concerns: Ethical issues. In L. Rocchio
   (Chair), Trauma psychologists with serious health concerns: Ethical, clinical and professional issues.
   Symposium conducted at the National Meeting of the American Psychological Association, Washington,
   DC.

Hughes, D.M. & Rocchio, L.M. (August, 2014). Essentials of forensic assessment of trauma in civil and
    criminal litigation. Skill building session presented at the National Meeting of the American
    Psychological Association, Washington, DC.

Rocchio, L.M. (August, 2013). Trauma in the treatment room: What the independent practitioner needs
    to know. Skill building session presented at the National Meeting of the American Psychological
   Association, Honolulu, HI

Rocchio, L.M. (August, 2012). The forensic evaluation of traumatic stress and dissociation in civil
    litigation. In L. Rocchio (Chair), The forensic evaluation of traumatic stress and dissociation:
    Malpractice and personal injury cases. Symposium conducted at the National Meeting of the American
    Psychological Association, Orlando, FL.

Rocchio, L.M. (April, 2012). Trauma psychology: Legal considerations and ethical dilemmas in treatment.
    Workshop presented at the 32nd Annual Meeting of the Anxiety Disorders Association of America,
    Arlington, VA.

Courtois, C.A. & Rocchio, L.M. (April, 2012). Relationship dimensions and ethical factors in the
    treatment of complex trauma. Workshop presented at the 32nd Annual Meeting of the Anxiety Disorders
   Association of America, Arlington, VA.

Anthony, J., Feil, L., Rocchio, L.M., Plante, W., Sabo, R., and Spencer, M. (March 2012). Mental health
     professionals in transition: Clinical, ethical, and practical considerations when life changes.
     Professional Continuing Education Workshop sponsored by the Rhode Island Psychological
    Association, Providence, RI.

Rocchio, L.M. (November 2011). Conceptualization and assessment of sexual harassment in civil
    litigation. In D. Hughes (Chair), The conceptualization of trauma in a forensic context. Symposium
    conducted at the 27th Annual Meeting of the International Society for Traumatic Stress Studies,
    Baltimore, MD

Rocchio, L.M. (August 2011). Assessment of complex trauma in a clinical setting. In L. Rocchio (Chair),
    Assessment of complex trauma and dissociation in clinical, forensic and research settings. Symposium
    conducted at the National Meeting of the American Psychological Association, Washington, D.C.

Rocchio, L.M. (March 2011). Conceptualization, assessment, and treatment of trauma and dissociation:
    Translating research into practice. In K. Rose (Chair), Advancing the applications and boundaries of
    traumatic stress research: Translation between empirical inquiry and clinical case findings.
    Symposium conducted at the National Meeting of the American Anxiety Disorders Association, New
    Orleans, LA.




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Rocchio, L.M. (March, 2011). The effects of trauma on the therapist. Paper presented at the National
    Meeting of the American Anxiety Disorders Association, New Orleans, LA.

Hughes, D.M. & Rocchio, L.M. (November 2010). Forensic assessment of psychological trauma and PTSD.
    Workshop presented at the 26th Annual Meeting of the International Society for Traumatic Stress
    Studies, Montreal, Canada.

Rocchio, L.M. (August 2010). Professional and ethical considerations in trauma psychology: Psychotherapy.
    In L. Rocchio (Chair), Professional and ethical considerations in trauma psychology: Psychotherapy,
    forensics, research. Symposium conducted at the National Meeting of the American Psychological
    Association, San Diego, CA.

Rocchio, L.M. (March 2010). Trauma psychology: What the anxiety disorders specialist needs to know.
    Paper presented at the National Meeting of the American Anxiety Disorders Association, Baltimore,
    MD.

Ethics Committee of the Rhode Island Psychological Association (June 2008). From In Treatment to our
    treatment: Ethical considerations raised in the television program In Treatment. Continuing education
    salon presentation sponsored by the Rhode Island Psychological Association, Providence, RI.

Ethics Committee of the Rhode Island Psychological Association (January 2007). Sex, lies &
    confidentiality: A discussion of the top ten ethical issues posed to the RIPA Ethics Committee.
    Professional Continuing Education Workshop sponsored by the Rhode Island Psychological Association,
    Providence, RI.

Rocchio, L.M. (October 1999). The effects of trauma on the professional. Workshop presented at the Fifth
   Annual Conference of the RI Coalition Against Domestic Violence, Providence, RI.

Rocchio, L.M. (April 1999). Discussant. In J.C. Chrisler (Chair), Addressing fat oppression: Research and
   practice. Symposium conducted at the National Meeting of the Eastern Psychological Association,
   Providence, RI.

Rocchio, L.M. (October 1997). Discussant. In J.C. Chrisler (Chair), Current issues in feminist therapy.
    Symposium conducted at the National Meeting of the New England Psychological Association, Easton,
    MA.

Johnston-Robledo, I., Rocchio, L. M., & Chrisler, J. C. (March 1997). AWP program content 1981 - 1996:
    Where we’ve been, where we’re heading. Discussion facilitated at the National Meeting of the
    Association for Women in Psychology, Pittsburgh, PA.

Rocchio, L.M. (October 1996). Discussant. In J.C. Chrisler (Chair), Women and weight: Gendered
    messages from the media. Symposium conducted at the National Meeting of the New England
    Psychological Association, New London, CT.

Rocchio, L. M. (August 1996). The pursuit of beauty through thinness and the impact of advertising on
    college women's attitudes. In C. Smith (Chair), Empirical investigations of women's pursuit of beauty.
    Symposium conducted at the National Meeting of the American Psychological Association, Toronto,
    Canada.

Cogan, J. & Rocchio, L. M. (March 1995). Fat oppression and body hatred: Strategies for change. One-half
   day training workshop presented at the National Meeting of the Association for Women in Psychology,
   Indianapolis, IN.




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Cogan, J. & Rocchio, L. M. (March 1994). Celebrating and redefining our diverse beauty: Rejecting body
   hatred. Workshop presented at the National Meeting of the Association for Women in Psychology,
   Oakland, CA.

Rocchio, L. M. (March 1993). Battered women who kill, psychology, and the law. Paper presented at the
   National Meeting of the Association for Women in Psychology, Atlanta, GA.

Gregory, C.J., Minugh, P. A., Riedford, M., Rocchio, L. M., & Saris, R. (March 1993). Women Against
    Sexual Harassment (WASH): Working to eliminate sexual harassment from the academic community.
    Workshop presented at the National Meeting of the Association for Women in Psychology, Atlanta, GA.

Silver, B., Rocchio, L. M., & Gregory, C.J., (November 1992). A model for gender role assessment. Paper
    presented at the meeting of the New England Psychological Association, Fairfield, CT.

Rocchio-Giordano, L. M. (February 1992). Moral reasoning related to gender and dilemma content. Paper
   presented at the National Meeting of the Association for Women in Psychology, Long Beach, CA.



INVITED ADDRESSES

Rocchio, L.M. (January, 2021). Trauma psychology: What the trauma psychotherapist needs to know.Invited
presentation to the PGY 3 Residency Seminar at Brown Alpert School of Medicine. Providence, RI.

Rocchio, L.M. (March, 2016, 2017, 2018). Vicarious traumatization: The effect of trauma exposure on the
   helping professional. Invited continuing education presentation to the New England Society for the
   Treatment of Trauma and Dissociation workshop: Fundamentals of Complex Trauma and Dissociation,
   Cambridge, MA.

Rocchio. & Mills, M.A.M. (May, 2017). The anxiety and obsessive compulsive disorders: Overview and
    treatment strategies. Invited continuing education presentation to the members of the Behavioral
    Health Pod of the Rhode Island Primary Care Physician’s Corporation, Cranston, RI.

Hughes, D.M. & Rocchio, L.M. (August, 2016). Forensic work with trauma populations. Invited hospitality
   suite presentation sponsored by Division 56 of the American Psychological Association. Presented at the
   National Meeting of the American Psychological Association, Denver, CO.

Rocchio, L.M. (2016). Trauma psychology: What the therapist needs to know. Invited continuing education
   presentation to the members of the Behavioral Health Pod of the Rhode Island Primary Care Physician’s
    Corporation, Cranston, RI

Rocchio, L.M. (2016, 2015, 2013, 2012, 2011, 2010, 2009, 2008). Ethical considerations in the practice of
   clinical and forensic psychology: Business and forensic issues. Invited presentation to the participants
   of the Fellows Ethics Workshop, Brown University, Providence, RI.

Rocchio, L.M. (2015, 2014). Ethical considerations in the practice of clinical and forensic psychology:
    Multiple Relationships. Invited presentation to the participants of the Fellows Ethics Workshop, Brown
   University, Providence, RI.

Brown, LS., Gold, S., & Rocchio, L.M. (August, 2014). The forensic assessment of trauma. Invited
   hospitality suite presentation sponsored by Division 56 of the American Psychological Association.
   Presented at the National Meeting of the American Psychological Association, Washington, DC

Brown, LS., Gold, S., & Rocchio, L.M. (August, 2013). The forensic assessment of trauma. Invited
   hospitality suite presentation sponsored by Division 56 of the American Psychological Association.




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    Presented at the National Meeting of the American Psychological Association, Honolulu, HI.

Rocchio, L.M. (August 2011). Development of a successful independent group practice in psychology.
   Hospitality suite conversation hour sponsored by Division 42 of the American Psychological Association.
   Presented at the National Meeting of the American Psychological Association, Washington, D.C.

Rocchio, L.M. (April 2009). Practical, legal and ethical considerations in establishing an independent
   practice in psychology. Invited salon presentation to Early Career Psychologists sponsored by the
   Rhode Island Psychological Association, Providence, RI.

Rocchio, L.M. (April 1996). The pursuit of beauty through thinness and the impact of advertising on
    college women’s attitudes. Invited colloquium presented to the Providence College Department of
    Psychology, Providence RI.

Rocchio, L.M., Gregory, C.J., & Minugh, P.A. (1993). Women Against Sexual Harassment (WASH):
   Dealing with sexual harassment in the workplace. Invited presentation to the participants of the Feminist
   Lecture Series, Butler Hospital, Providence, RI.

Rocchio, L.M. (April 1993). Women and weight. Panel discussion participant, Brown University,
   Providence, RI.

Rocchio, L.M. (May 1991). Images of women in the media, the pursuit of beauty, and eating disorders.
   Invited presentation to Psychology of Sexual Equality class, University of RI, Kingston, RI.



DISSERTATION AND THESIS

Rocchio, L. M. (1995). The pursuit of beauty through thinness and the impact of advertising on college
   women's attitudes. Doctoral dissertation, University of RI, Kingston, RI.

Rocchio, L. M. (1993). Moral reasoning related to gender and dilemma content. Master’s thesis, University
   of RI, Kingston, RI.


PROFESSIONAL ACTIVITIES

American Psychological Association

2021 – present            Division 56 (Trauma Psychology) President-Elect
2020 - present            APA Ethics Committee Member: Forensic Slate
2014 – present            Division 56 Journal, Trauma Psychology: Theory, Research, Practice and Policy,
                          Editorial Review Board Member
2019 – 2020               Division 56 Member at Large
2013 – 2019               Division 56 Treasurer
2009 – 2019               Division 56 Representative to the Committee on Women in Psychology (CWP)
2015 - 2016               APA Committee for State Leaders, Past-Chair
2014 – 2015               State Leadership Convention (SLC) 2020 Initiative Task Force, CSL
                          Representative
2013 – 2015               APA Committee for State Leaders, Chair
2012 - 2013               APA Committee for State Leaders, Member-at-large
2010 – 2013               Division 56 Membership Chair; Program Review Committee Member
1996 - 2000               Division 35 Student Research Prize Reviewer
1992 - 1995               Division 35 Student Committee Member




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Association for Women in Psychology

2011, 1992 - 2000         Program Review Committee Member
1996 - 2000               Student Research Prize Review Committee Member
1999                      Conference Planning Committee Member
1991 - 1995               Co-Coordinator, RI Chapter
1992 - 1995               Student Caucus Coordinator


Blue Cross Blue Shield of RI

2020 - present            Grant Recipient for Behavioral Health Provider Quality Support
                          Grant Pilot Program

2015 - present            Quality Measures Workgroup Member

Coalition of Mental Health Providers in RI

2004 – present            Founding Committee Member

Healthsource RI

2014 – 2015               Expert Advisory Panel, Member

New England Psychological Association

1995                      Program Review Committee, Member

Rhode Island Primary Care Physicians Corporation Behavioral Health Network

2014 – present            Vision Committee Member
2013 – present            Communications Committee Member


Rhode Island Psychological Association

2020 – present            Social Justice Committee Member
2016 – present            APA Council Representative
2013 – present            Healthcare Task Force/Committee Member
2011 – present            Legislative Affairs Committee Member
1996 - present            Ethics Committee Member
2015 - 2016               Secretary
2010 – 2014               Colleague Assistance Task Force/Committee Member
2014 - 2015               Past-President
2012 – 2014               President
2011 – 2012               President-Elect
2006 - 2008               Ethics Committee Chair


Rhode Island and Southeastern Massachusetts Trauma Study Group

2010 – 2016               Co-founder and member




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PROFESSIONAL ADVOCACY

Congressional Visits

Visits organized by the American Psychological Association:

March, 2016              Medicare and Mental Health Reform. Senators Jack Reed and Sheldon Whitehouse
                         (Rhode Island)

March, 2016              Medicare and Mental Health Reform. Representatives David Cicilline and James
                         Langevin (Rhode Island)

March, 2015              Medicare. Senators Jack Reed and Sheldon Whitehouse (Rhode Island)

March, 2015              Medicare. Representatives David Cicilline and James Langevin (Rhode Island)

March, 2014              Medicare. Senators Jack Reed and Sheldon Whitehouse (Rhode Island)

March, 2014              Medicare. Representatives David Cicilline and James Langevin (Rhode Island)

Feb., 2012               Medicare and Healthcare Reform. Senators Jack Reed and Sheldon Whitehouse
                         (Rhode Island)

Feb., 2012               Medicare. Representatives David Cicilline and James Langevin (Rhode Island)




Rhode Island Legislative Advocacy

09/2013 – 02/ 2014       Special Joint Commission to Study the Integration of Primary Care and Behavioral
                         Health, Co-Chaired by Senator Joshua Miller and Representative David Bennett,
                         Commission Member.

2004 - present           Advocacy regarding legislation:

                         The increased oversight of Blue Cross/Blue Shield of RI by the office of the Insurance
                         Commissioner. Changes to the RI licensing law for psychologists

                         The inclusion of psychologists in corporate practice of medicine legislation

                         Ensuring that psychologists’ scope of practice was not restricted by the passage of
                         statutes related to the practice of applied behavioral analysis

                         Local mental health parity legislation

                         Marriage equality in the state of RI.


PROFESSIONAL AFFILIATIONS

American Psychological Association (APA), Fellow Divisions 42 and 56




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American Psychological Association (APA), Member Divisions 12, 29, 31, 35, 41,
Association for Women in Psychology (AWP)
Eye Movement Desensitization and Reprocessing International Association (EMDRIA)
International Society for the Study of Trauma and Dissociation (ISSTD)
International Society for Traumatic Stress Studies (ISTSS)
Massachusetts Psychological Association
New England Society for the Treatment of Trauma and Dissociation (NESTTD)
Rhode Island Psychological Association (RIPA)


COMMUNITY ACTIVITIES

2019 – present            Governance Committee Member, Moses Brown School, Providence, RI
2011 – 2019               Nominating Committee Member, Moses Brown School, Providence, RI
2013 – 2017               Clerk, Nominating Committee, Moses Brown School, Providence, RI
2013 -2017                Executive Committee Member, Moses Brown School, Providence, RI
2011 – 2017               Board of Trustees, Moses Brown School, Providence RI
2008 – 2015               Trustee Committee Member, Moses Brown School, Providence, RI
2002 – 2006               Founding Director, Board of Directors, Quest Montessori School, Exeter.




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